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                                                                                              2019 Apr-18 AM 09:15
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                                EASTERN DIVISION

JANIE KEITH,                                     )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )      Case No. 1:18-CV-1311-KOB
                                                 )
TALLADEGA CITY BOARD OF                          )
EDUCATION,                                       )
                                                 )
       Defendant.                                )


                                 MEMORANDUM OPINION

       This matter comes before the court on “Defendant[] Talladega City Board of Education’s

Motion to Dismiss,” filed on September 19, 2018. (Doc. 3). On August 16, 2018, Plaintiff Janie

Keith filed this employment discrimination lawsuit alleging gender discrimination, hostile work

environment, retaliation, pay discrimination, and quantum meruit. (Doc. 1). On October 15,

2018, Ms. Keith filed “Plaintiff’s Objection to Defendant’s Motion to Dismiss.” (Doc. 9). On

October 25, 2018, Talladega City Board of Education filed “Defendant’s Reply to Plaintiff’s

Objection to Defendant’s Motion to Dismiss.” (Doc. 10). The motion is now ripe for review.

   I. Background

       The Board of Education hired Ms. Keith, an African-American female, as a physical

education teacher on October 19, 1989. (Doc. 9 at 1). Ms. Keith initially coached varsity

cheerleading at Talladega High School, volleyball at Zora Ellis Jr. High School, and 7th and 8th

grade girls’ basketball at Zora Ellis Jr. High School. Throughout her time working for the Board,

Ms. Keith coached several other teams, as identified in the chart below.

        Sport                    Level                 Year Began               Year Ended



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                         Varsity                            1997                     2018
Girls’ basketball
                         Junior varsity                     2012                     2018

                         Varsity                            2013                     2017
Girls’ volleyball
                         Junior varsity                     2013                     2017

                         Varsity                            2013                     2017
Girls’ softball
                         Junior varsity                     2015                     2016


        Ms. Keith alleges that she was paid for coaching varsity volleyball, but not junior varsity

volleyball, for the academic years 2013 through 2016. Ms. Keith alleges that she was paid for

coaching varsity softball, but not junior varsity softball, for academic years 2013–2014 and

2016–2017.

        Ms. Keith claims that in 2010, she was hired as Assistant Athletic Director. In this

position, she would assist Charles Miller, a Caucasian male who the Board appointed as the

Athletic Director for the academic years 2010 through 2013. 1

        For the 2012–2013 academic year, the Board of Education appointed Ms. Keith as the

Athletic Director for Talladega City Schools. She remained Athletic Director until the Board

terminated her on September 2, 2016. She was never given an assistant during this time, and was

allegedly paid less than Mr. Miller. Ms. Keith alleges that she was fired because she sought

redress for the discrimination issues.




1
  While Ms. Keith’s response and complaint both state that Mr. Miller was Athletic Director for
academics years 2010 through 2013, (doc. 9 at 2; doc. 1 at 6), the court assumes Ms. Keith meant
that Mr. Miller was Athletic Director through 2012, because Ms. Keith was Athletic Director
beginning in the 2012–2013 academic year.
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        On November 28, 2016, Ms. Keith filed a charge with the Equal Employment

Opportunity Commission. Ms. Keith filed her complaint on August 18, 2018. (Doc. 1). Ms.

Keith raises six counts in her complaint.

        Count One alleges gender discrimination under Title IX. Ms. Keith alleges that

“Defendants’ acts and failures to act perpetrated against Plaintiff amount to harassment and

discrimination on the basis of gender. The harassment and discrimination was [sic] sufficiently

severe and pervasive to create an abusive, and hostile educational environment for Plaintiff.”

(Doc. 1 at 8). Ms. Keith contends that the discrimination affected her and the girls’ sports

programs in the school district.

        Count Two alleges gender discrimination under Title VII. Ms. Keith generally pled that

the Board of Education “discriminated against the Plaintiff in violation of the rights secured to

plaintiffs and the class by Title VII . . . .” 2 (Doc. 1 at 10). As a result of this alleged violation,

“Plaintiff has suffered anguish, humiliation, distress, inconvenience and loss of enjoyment of

life, thereby entitling her to compensatory damages.” (Id. at 11).

        Count Three alleges a hostile work environment under Title VII. Ms. Keith contends that

“[t]he above-described unwelcome sex discrimination created an intimidating, oppressive,

hostile and offensive work environment which interfered with Plaintiff’s emotional and physical

well-being.” (Doc. 1 at 12).

        Count Four alleges retaliation. Ms. Keith alleges that the Board terminated her because

she made internal complaints regarding her alleged disparate treatment.

        Count Five alleges pay discrimination. Ms. Keith claims that she was paid “less than a

similarly situated male employee performing the same or similar duties.” (Doc. 1 at 15). She also

2
 The court assumes that this reference to a class was a mistake, as neither the complaint nor any
subsequent filings mention a class or any plaintiff besides Ms. Keith.
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alleges that the Board required her to coach junior varsity softball and volleyball without pay

during the 2013–2014 and 2016–2017 academic years, in addition to being paid less than Mr.

Miller as Athletic Director and not having an Assistant Athletic Director.

        Count Six alleges quantum meruit. Ms. Keith claims that she provided services by

coaching junior varsity girls’ softball for academic years 2015–2016 and junior varsity girls’

volleyball for academic years 2013–2016 without pay, and so she seeks payment for those

services rendered.

    II. Standard of Review

        A Rule 12(b)(6) motion to dismiss attacks the legal sufficiency of the complaint.

Generally, the Federal Rules of Civil Procedure require only that the complaint provide “‘a short

and plain statement of the claim’ that will give the defendant fair notice of what the plaintiff’s

claim is and the grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957) (quoting

Fed. R. Civ. P. 8(a)). A plaintiff must provide the grounds of his entitlement, but Rule 8

generally does not require “detailed factual allegations.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007) (quoting Conley, 355 U.S. at 47). It does, however, “demand[ ] more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). Pleadings that contain nothing more than “a formulaic recitation of the elements of a

cause of action” do not meet Rule 8 standards nor do pleadings suffice that are based merely

upon “labels or conclusions” or “naked assertions” without supporting factual allegations.

Twombly, 550 U.S. at 555, 557.

        The Supreme Court explained that “[t]o survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Iqbal, 556 U.S. at 678 (quoting and explaining its decision in Twombly, 550 U.S. at 570).



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To be plausible on its face, the claim must contain enough facts that “allow[] the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678. Although “[t]he plausibility standard is not akin to a ‘probability requirement,’” the

complaint must demonstrate “more than a sheer possibility that a defendant has acted

unlawfully.” Id. “Where a complaint pleads facts that are merely consistent with a defendant’s

liability, it ‘stops short of the line between possibility and plausibility of entitlement to relief.’”

Id. (quoting Twombly, 550 U.S. at 557).

        The Supreme Court has identified “two working principles” for the district court to use in

applying the facial plausibility standard. The first principle is that, in evaluating motions to

dismiss, the court must assume the veracity of well-pleaded factual allegations; however, the

court does not have to accept as true legal conclusions even when “couched as [] factual

allegation[s]” or “threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements.” Iqbal, 556 U.S. at 678. The second principle is that “only a complaint

that states a plausible claim for relief survives a motion to dismiss.” Id. at 679. Thus, under

prong one, the court determines the factual allegations that are well-pleaded and assumes their

veracity, and then proceeds, under prong two, to determine the claim’s plausibility given the

well-pleaded facts. That task is “context-specific” and, to survive the motion, the allegations

must permit the court based on its “judicial experience and common sense . . . to infer more than

the mere possibility of misconduct.” Id. If the court determines that well-pleaded facts, accepted

as true, do not state a claim that is plausible, the claim must be dismissed. Id.

    III. Discussion

        The Board of Education raises six arguments in its motion to dismiss. First, Title VII

preempts Ms. Keith’s Title IX claim. Second, the complaint fails to set forth facts supporting the



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hostile work environment claims in Count One and Count Three, so Ms. Keith fails to state a

claim upon which relief can be granted. Third, Ms. Keith fails to state a claim for Counts Two,

Three, and Four alleging Title VII violations because Ms. Keith did not allege that she received a

right-to-sue letter from the EEOC. Fourth, Ms. Keith did not raise her Title VII claims—except

for her pay for being a head coach and discharge from the athletic director position—in her

EEOC charge. Fifth, sovereign immunity bars MS. Keith’s claim for quantum meruit in Count

Six. Sixth, Ms. Keith cannot recover punitive damages for gender discrimination under Count

Two against a governmental entity. Each argument will be discussed in turn.

         a. Title VII preemption

         The Board of Education contends that Ms. Keith’s Title IX claim under Count One is

preempted by Title VII. Ms. Keith concedes that Count One is likely preempted by Title VII, and

agrees that Count One should be dismissed. (Doc. 9 at 5–6). So, the court will GRANT the

Board’s motion to dismiss Count One.

         b. Failure to state a claim: failure to plead with specificity

         The Board of Education contends that Ms. Keith failed to state a claim under Rule

12(b)(6) of the Federal Rules of Civil Procedure for a hostile work environment under Counts

One and Three. Ms. Keith voluntarily dismissed Count One as discussed above, so the court will

only consider whether Ms. Keith failed to state a claim for a hostile work environment in Count

Three.

         The Board contends that Ms. Keith has pled no facts alleging a hostile work environment.

Ms. Keith, on the other hand, argues that the law requires only “fair notice of what the plaintiff’s

claim is and the grounds upon which it rests.” (Doc. 9 at 7 (quoting Conley, 355 U.S. at 47)).




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       The court is concerned that Ms. Keith’s only legal citations supporting this argument are

to cases decided before landmark cases Ashcroft v. Iqbal and Bell Atlantic Corp. v. Twombly,

both of which clarified the pleading standards in federal court. “[A]n unadorned, the-defendant-

unlawfully-harmed-me accusation” is insufficient. Ashcroft, 556 U.S. at 678. A complaint fails to

state a claim upon which relief can be granted when it contains only “a formulaic recitation of

the elements of a cause of action” or is solely based upon “labels or conclusions” or “naked

assertions” without supporting factual allegations. Twombly, 550 U.S. at 555, 557.

       So the court will consider whether Ms. Keith has alleged sufficient facts to support a

hostile work environment claim under the standards set out in Twombly and Iqbal. “A hostile

work environment claim under Title VII is established upon proof that ‘the workplace is

permeated with discriminatory intimidation, ridicule, and insult, that is sufficiently severe or

pervasive to alter the conditions of the victim’s employment and create an abusive working

environment.’” Miller v. Kenworth of Dothan, Inc., 277 F.3d 1269, 1275 (11th Cir. 2002). While

at the pleading stage, Ms. Keith does not have to prove her allegations. She still must allege facts

that, if true, would plausibly show:

       (1) that [s]he belongs to a protected group; (2) that [s]he has been subject to
       unwelcome harassment; (3) that the harassment must have been based on a
       protected characteristic of the employee, such as national origin; (4) that the
       harassment was sufficiently severe or pervasive to alter the terms and conditions
       of employment and create a discriminatorily abusive working environment; and
       (5) that the employer is responsible for such environment under either a theory of
       vicarious or direct liability.

Id.

       Here, the court can find no facts regarding an alleged hostile work environment. Ms.

Keith has not alleged a single instance of harassment or abuse. All Ms. Keith has alleged is that

she was unpaid for some work, and that a male predecessor was paid more and had an assistant



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as Athletic Director. None of those facts amounts to a hostile work environment. So, the court

will GRANT the Board’s motion to dismiss Count Three.

       c. Failure to state a claim: failure to receive a right-to-sue letter

       The Board of Education argues that Ms. Keith failed to allege that she received a right-to-

sue letter from the EEOC, so Counts Two, Three, and Four must be dismissed. Ms. Keith

contends in her response that she did receive a right-to-sue letter on May 22, 2018. (Doc. 9 at 7).

The Board admits in its reply that is has subsequently become aware of Ms. Keith’s EEOC

charge and right-to-sue letter. (Doc. 10 at 6). Ms. Keith maintains that the Board’s motion to

dismiss as to the right-to-sue letter is premature because Federal Rule of Civil Procedure 15

allows Ms. Keith to amend her complaint.

       Before filing a Title VII suit in federal court, a plaintiff must first file an EEOC charge

within 180 days of the original discrimination and “receive statutory notice from the EEOC

of . . . her right to sue the respondent named in the charge.” Forehand v. Fla. State Hosp. at

Chattahoochee, 89 F.3d 1562, 1567 (11th Cir. 1996); see 42 U.S.C. § 2000e-5(f)(1). Then, once

the EEOC has issued a right-to-sue letter, the plaintiff has 90 days to file her suit in federal court.

See 42 U.S.C. § 2000e-5(f)(1).

       The plaintiff has “the initial burden of establishing that [s]he filed [her] Complaint within

ninety days of [her] receipt of the EEOC’s right-to-sue letter.” Green v. Union Foundry Co., 281

F.3d 1229, 1233 (11th Cir. 2002). If the defendant contests that allegation, the plaintiff “bears the

burden of proving that the conditions precedent, which the defendant has specifically joined in

issue, have been satisfied.” Jackson v. Seaboard Cost Line R. Co., 678 F.2d 992, 1010 (11th Cir.

1982). The plaintiff is not required to attach her right-to-sue letter to her complaint. Cf.

Forehand, 89 F.3d at 1567 (noting that receipt of a right-to-sue letter is a condition precedent to



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filing a Title VII suit, but not that the letter must be attached to the pleading). But if the

defendant contests that the plaintiff filed her complaint within 90 days of receiving the EEOC’s

right-to-sue letter, then the plaintiff must show that she timely filed her complaint. Because

failure to attach a right-to-sue letter to a complaint is not a ground for dismissal, the court will

DENY the Board’s motion to dismiss based on Ms. Keith’s failure to receive a right-to-sue letter

as to Counts Two, Three, and Four.

        d. Failure to raise claims in EEOC charge

        The Board of Education contends that the EEOC charge does not include Ms. Keith’s

hostile work environment and retaliation claims raised in Counts Three and Four.

        A potential plaintiff must exhaust her administrative remedies before filing suit under

Title VII. See Wilkerson v. Grinnell Corp., 270 F.3d 1314, 1317 (11th Cir. 2001) (“Before a

potential plaintiff may sue for discrimination under Title VII, she must first exhaust her

administrative remedies.”). As a first step, the potential plaintiff must file a timely charge of

discrimination with the EEOC. See id.

        The Board attached a copy of Ms. Keith’s EEOC charge to its reply brief. (Doc. 10-1).

The court must first address whether it can consider this document without converting the motion

to dismiss to a motion for summary judgment under Rule 12(d).

        Rule 12(d) requires a court to convert a motion under Rule 12(b)(6) or 12(c) to a motion

for summary judgment if the motion presents matters outside the pleadings that are not excluded

by the court. However, “the court may consider a document attached to a motion to dismiss

without converting the motion into one for summary judgment if the attached document is (1)

central to the plaintiff’s claim and (2) undisputed. In this context, ‘undisputed’ means that the

authenticity of the document is not challenged.” Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir.



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2005). Here, Ms. Keith’s EEOC charge is undoubtedly central to her claims. See EEOC v. Prof’l

Freezing Servs., LLC, 15 F. Supp. 3d 783, 785 n.1 (E.D. Ill. 2013) (allowing the defendant to

attach the EEOC charge to its motion to dismiss when the plaintiff failed to attach it to the

complaint). Further, Ms. Keith has offered to attach the documentation herself if allowed to

amend her complaint, so authenticity is not challenged. (Doc. 9 at 7–8).

       But a second issue arises: the Board attached the charge not to the motion to dismiss, but

to its reply brief. Generally, courts disfavor the submission of new evidence in a reply brief. See

Cost Recovery Servs. LLC v. Alltell Commc’ns, Inc., 259 Fed. App’x 223, 226 (11th Cir. 2007)

(holding that a party cannot raise a new argument or evidence in a reply brief to a motion for

summary judgment without giving the non-movant an opportunity to respond); see also

Pacquiao v. Mayweather, No. 2:09-cv-2448-LRH-RJJ, 2010 WL 3271961, at *1 (D. Nev. Aug.

13, 2010) (“[T]o the extent that a party raises a new argument or proffers new evidence and

information in a reply brief [to a motion to dismiss], that argument or evidence is improper

because the opposing party is deprived of an opportunity to respond.”).

       While the document attached by the Board is new in that they had not yet been presented

to this court, the charge is not new to Ms. Keith. Ms. Keith created the charge. And Ms. Keith

relies on it in her response to the motion to dismiss. So, the court finds that the usual concerns of

allowing new evidence in a reply brief are not present here, because the document has always

been available to Ms. Keith and Ms. Keith in fact used the document in her response. She has not

been ambushed by new evidence on reply. Thus, the court will consider the EEOC charge

attached to the Board’s reply brief in determining whether she raised her hostile work

environment claim and retaliation claims in her charge.




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       In her charge filed with the EEOC, Ms. Keith checked the boxes for discrimination based

on sex and other. (Doc. 10-1 at 2). She did not select the retaliation box. In the box for the

particulars of her claim, Ms. Keith explained that she was discharged as Athletic Director on

September 1, 2016, but continues to serve as head coach for several teams. She also explained

that her supplement pay for her coaching work was “substantially less than other male Head

Coaches which [sic] perform the same responsibilities.” (Id.). She stated that she was

discriminated against because of her sex in violation of Title VII and the Equal Pay Act.

       Counts Three and Four allege a hostile work environment and retaliation, respectively.

Ms. Keith’s EEOC charge included no facts or references to a hostile work environment or

retaliation. Ms. Keith mentioned she was terminated as Athletic Director when she filed the

charge, but she did not check the retaliation box.

       A plaintiff is not necessarily limited to only the facts and claims included on the EEOC

charge. “A plaintiff’s judicial complaint is limited by the scope of the EEOC investigation which

can reasonably be expected to grow out of the charge of discrimination.” Mulhall v. Advance

Sec., Inc., 19 F.3d 586, 589 n.8 (11th Cir. 1994). An EEOC investigation will not suddenly

uncover evidence of a hostile work environment of which Ms. Keith never mentioned or alleged

a single fact. In certain cases, an EEOC investigation could lead to retaliation by the employer.

And such retaliation may be actionable without having been included in the EEOC charge. See

Baker v. Buckeye Cellulose Corp., 856 F.2d 167, 168 (11th Cir. 1988) (holding that “a claim of

retaliation could reasonably be expected to grow out of the original charge of discrimination”).

But in this case, the employer had already terminated Ms. Keith, and Ms. Keith did not raise

retaliation. The court does not believe that a retaliation charge could grow out of an EEOC

investigation when the termination occurred prior to the filing of the charge and was not raised.



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Ms. Keith did not exhaust her remedies before suing for retaliation, and so she cannot raise

retaliation now. Accordingly, the court will GRANT the Board’s motion to dismiss as to Counts

Three and Four because they are outside the scope of the EEOC charge.

       e. Sovereign immunity

       Ms. Keith raised a quantum meruit claim against the Board of Education under Alabama

state law. The Board argues that such a claim violates state sovereign immunity, which prevents

the Board, a state entity, from being sued for quantum meruit. Ms. Keith maintains that the

Board is not immune to suits for the payment of contractual debts.

       The Alabama Constitution provides that “the State of Alabama shall never be made a

defendant in any court of law or equity.” Ala. Const. art. I, § 14. In Alabama, “[m]unicipal and

county boards of education are local agencies of the State and partake of the State’s sovereign

immunity.” L.S.B. v. Howard, 659 So. 2d 43, 44 (Ala. 1995); see also Ex parte Jackson Cty. Bd.

of Educ., 4 So. 3d 1099, 1012 (Ala. 2008) (“For purposes of § 14 immunity, county boards of

education are considered agencies of the state.”). The Supreme Court of Alabama has held that

§ 14 of the Alabama Constitution “affords the State and its agencies an ‘absolute’ immunity

from any court.” Ex parte Mobile Cty. Dep’t of Human Res., 815 So. 2d 527, 530 (Ala. 2001).

So, state sovereign immunity applies to the defendant, a city board of education.

       While sovereign immunity protects the state and its agencies from tort claims, the state

and its agencies are vulnerable to certain other suits. See Ex parte Jackson Cty. Bd. of Educ., 4

So. 3d at 1103 (“Although it is undisputed that county boards of education are immune from

actions seeking damages under tort claims, . . . prior caselaw has allowed breach-of-contract

actions to proceed against county boards of education.”). The Supreme Court of Alabama has

identified four categories of action in which the state and its agencies are immune:



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       (1) actions brought to compel State officials to perform their legal duties; (2)
       actions brought to enjoin State officials from enforcing an unconstitutional law;
       (3) actions to compel State officials to perform ministerial acts; and (4) actions
       brought under the Declaratory Judgments Act.

Ex parte Moulton, 116 So. 3d 1119, 1131 (Ala. 2013) (quoting Drummond Co. v. Ala. Dep’t of

Transp., 937 So. 2d 56, 58 (Ala. 2006)).

       Ms. Keith contends that her quantum meruit claim is an action brought to compel the

state agency to perform its legal duties by compelling the Board to pay its employees for work

performed. But the Supreme Court of Alabama has held that quantum meruit claims do not fall

within this—or any other—exception to state sovereign immunity. See Ex parte Jackson Cty. Bd.

of Educ., 164 So. 3d 532 (Ala. 2014) (noting that the four exceptions identified in Ex parte

Moulton are sufficient to prevent a city board of education from flouting its contractual

obligations, and holding that the county board is immune from an action for quantum meruit,

among other claims); Ex Parte Phenix City Bd. of Educ., 109 So. 3d 631 (Ala. 2012) (holding

that the city board of education is absolutely immune to the suit, which includes a claim for

quantum meruit); Ex parte Ala. Dep’t of Transp., 978 So. 2d 17, 23 (Ala. 2007) (“Because the

immunity of a State agency is ‘absolute’ under § 14, . . . ALDOT is also immune from the counts

in Good Hope’s complaint . . . seeking recovery under a theory of quantum meruit.”).

       Because state sovereign immunity applies to the Board as to quantum meruit, the Board

is immune to the quantum meruit claim. State sovereign immunity does not apply to the Board as

to the employment discrimination claims. So, the court will GRANT the Board’s motion to

dismiss as to Count Six.

       f. Punitive damages

       Ms. Keith seeks to recover punitive damages against the Board of Education for gender

discrimination in violation of Title VII, as asserted in Count Two. The Board argues that punitive


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damages are not available because the Board is a governmental entity. The law here is well

settled: “A complaining party may recover punitive damages under this section against a

respondent (other than a government, government agency or political subdivision) . . . .” 42

U.S.C. § 1981a(b)(1); see also Garrett v. Clarke Cty. Bd. of Educ., 857 F. Supp. 949, 953 (S.D.

Ala. 1994) (“Since the Board [of Education is a] . . . governmental entit[y], the plaintiff in this

action sub judice cannot possibly recover Title VII punitive damages from them. Therefore, the

plaintiff’s Title VII claims for punitive damages against the Board . . . are due to be dismissed

with prejudice.”).

       Therefore, the court will GRANT the Board’s motion to dismiss as to punitive damages

sought in Count Two.

   IV. Conclusion

       For the reasons discussed above, the court will GRANT IN PART and DENY IN PART

the Board’s motion to dismiss. (Doc. 3). The court will GRANT the Board’s motion as to Counts

One, Three, Four, and Six and as to punitive damages sought in Count Two. The court will

DISMISS WITHOUT PREJUDICE Counts One, Three, and Four. The court will DISMISS

WITH PREJUDICE Count Six and Ms. Keith’s claim for punitive damages under Count Two

because no set of facts will allow Ms. Keith to pursue a claim of quantum meruit or punitive

damages under Title VII against a state or a state’s agencies. The court will DENY the Board’s

motion to dismiss as to Count Two (except for punitive damages). The court will enter a separate

Order consistent with this Memorandum Opinion.




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DONE and ORDERED this 17th day of April, 2019.



                                ____________________________________
                                KARON OWEN BOWDRE
                                CHIEF UNITED STATES DISTRICT JUDGE




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